959 F.2d 740
    Irene S. ATRAQCHI;  Mike Atraqchi, Appellants,v.FEDERAL BUREAU OF INVESTIGATION, Unknown Agents of The,individually and as agents of the Federal Bureau ofInvestigation;  Vern Klingman;  Leonard Dahl;  Mumtaz Fargo;Mike Schafer;  Harold Hanser;  First United MethodistChurch;  Principal Financial Group;  Fireman's FundInsurance Company of Wisconsin, Inc.;  Mountain BellTelephone Company;  Jane Doe;  John Doe 1 thru 1000, Appellees.
    No. 92-1006.
    United States Court of Appeals,Eighth Circuit.
    Submitted Jan. 2, 1992.Decided April 1, 1992.Certiorari Denied May 18, 1992.See 112 S. Ct. 1955.
    
      Appeal from the United States District Court for the District of Minnesota;  Robert G. Renner, Senior Judge.
      No counsel represented the appellants.
      Robert M. Small, Minneapolis, Minn., argued, for appellees.
      Before McMILLIAN, FAGG, and MAGILL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Irene and Mike Atraqchi appeal pro se from the order of the District Court1 for the District of Minnesota denying their amended motion to vacate judgment under Fed.R.Civ.P. 60(b)(6).   For reversal, the Atraqchis argue that in September 1990 the district court erroneously dismissed their civil rights lawsuit without affording them a hearing, and that they asserted sufficient reasons in their Rule 60(b)(6) motion to warrant relief.   We affirm.
    
    
      2
      Rule 60(b)(6) permits a court to grant relief "from a final judgment, order, or proceeding for ... any other reason justifying relief from the operation of the judgment."   The " 'other reason' clause ... vests power in courts adequate to enable them to vacate judgments whenever such action is appropriate to accomplish justice."  Klapprott v. United States, 335 U.S. 601, 614-15, 69 S. Ct. 384, 390, 93 L. Ed. 266 (1949).
    
    
      3
      After carefully reviewing the record, we conclude that the district court did not abuse its discretion in denying the amended Rule 60(b)(6) motion for failure to set forth a proper ground for relief.   The Atraqchis' claims did not present an "unusual situation" warranting relief under Rule 60(b)(6).   See Fuller v. Quire, 916 F.2d 358, 361 (6th Cir.1990).   To the extent that the Atraqchis assert claims on appeal that they did not raise in their amended Rule 60(b)(6) motion, we note that "[t]his Court has maintained consistently that 'Rule 60(b) was not intended as a substitute for a direct appeal from an erroneous judgment.' "  Spinar v. South Dakota Bd. of Regents, 796 F.2d 1060, 1062 (8th Cir.1986) (quoting Hartman v. Lauchli, 304 F.2d 431, 432 (8th Cir.1962)).
    
    
      4
      Accordingly, the district court judgment is affirmed.
    
    
      
        1
         The Honorable Robert G. Renner, Senior United States District Judge for the District of Minnesota
      
    
    